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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

IN RE: NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION STUDENT-                  MDL No. 2492
ATHLETE CONCUSSION INJURY                      Master Docket No. 16 CV 8727
LITIGATION—SINGLE SPORT/SINGLE
SCHOOL (FOOTBALL)                              Judge Manish S. Shah


                                      ORDER

       At the hearing on December 21, 2023, counsel should be prepared to address
the topics identified in this order.

                                    STATEMENT

      1.    The terms of the medical monitoring settlement release and the
            meaning of the word “claim” in that document.

      2.    The preclusive effect, if any, of the sample cases.

      3.    How issue preclusion might apply in the event an issues class is certified
            but this court does not (or cannot) enter judgment.

      4.    Whether summary judgment on an issue (without a final judgment)
            would meaningfully advance the litigation.

      5.    Plaintiffs’ general causation issue and whether resolution of that issue
            is necessary to any judgment.

      6.    Whether any issue on which plaintiffs seek class certification can be
            resolved for a time period from 1958 to 2010.

      7.    Is an issues class superior if its superiority depends on the specific
            answer to the issue?

      8.    What Lexecon issues arise from this court hearing an issues-only trial?

      9.    Whether the prospect of assisting settlement is a consideration for
            certifying issues under Rule 23, and whether assisting settlement
            should be a consideration at all.
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     10.   Discovery and what, if any, fact discovery should be allowed.


ENTER:

Date: December 20, 2023              ____________________________
                                     Manish S. Shah
                                     U.S. District Judge




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